        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 1 of 9   1
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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    NIKE, INC.,

4                     Plaintiff,

5                v.                                22 CV 983 (VEC)

6    STOCKX, LLC.,

7                     Defendant.

8    ------------------------------x
                                                   New York, N.Y.
9                                                  April 11, 2022
                                                   3:00 p.m.
10
     Before:
11
                           HON. VALERIE E. CAPRONI,
12
                                                   District Judge
13
                                   APPEARANCES
14
     DLA PIPER, LL
15        Attorneys for Plaintiff Nike
     BY: TAMAR Y. DUVDEVANI
16
     DEBEVOISE & PLIMPTON, LLP
17        Attorneys for Defendant Stockx
     BY: MEGAN K. BANNIGAN
18        KATHRYN C. SABA

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     KILPATRICK TOWNSEND & STOCKTON LLP
20        Attorneys for Defendant Stockx
     BY: JOHN D. MAYBERRY
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        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 2 of 9        2
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1              (Case called)

2              THE COURT:    You need to identify yourself each time

3    before you speak.     If you are in an area where there's ambient

4    noise, you need to mute your phone if you are not talking.

5              Let me tell every member of the public to mute your

6    telephone.   If I start getting a racket, I am going to kick you

7    off the telephone call.      So please mute your telephone.

8              And lastly, because I've just turned off the bell so

9    we're not being interrupted by them, I will periodically

10   confirm that I still have a court reporter on the line.            So

11   just bear with me when I do that.

12             So, we're here for an initial conference in this case

13   involving NFTs.    And let me just say I have about the same

14   understanding of NFTs as I have of people who would buy shoes

15   they are going to put in a vault and not wear.         So with that, I

16   have a question for the defendant and I think, Ms. Bannigan,

17   you told me you were going to be talking for the defendant.

18             Your argument is that these NFTs don't have any

19   extrinsic value.    Does that mean they are not sold

20   independently of the shoes to which they are connected?

21             MS. BANNIGAN:    Yes, your Honor.     And that's exactly

22   right.   Essentially Stockx has this marketplace where people

23   buy and sell shoes, self-identified sneaker heads use this

24   service and they invest in these shoes more like a fungible

25   asset, like a stock.     And essentially, what they're doing is


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        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 3 of 9          3
     M4BAANIKC                   Conference

1    trading these sneakers.      And so with trading the sneakers comes

2    transaction costs because they have to ship the shoes.             They

3    send the shoes to Stocks.      Stockx has a service where they eye

4    authenticate the shoes to make sure they are not counterfeit.

5    That takes time and costs money.       Then Stockx has to send them

6    to the buyer.    And what they're doing with these NFTs is tying

7    the NFTs to an actual physical pair of sneakers or other goods

8    because they are not just for sneakers and they're acting as a

9    claim ticket.

10             So Stockx has that pair of sneakers in its climate

11   controlled vault.     The physical goods actually exist there.

12   The NFT -- to the goods that exist in the vault.          and the

13   purchaser can trade the NFT and once somebody buys the NFT,

14   they can either decide to change it, redeem that ticket and

15   have the physical pair of shoes shipped to them so they can

16   hold them or they can keep the NFT knowing that it's being

17   stored like a bank account in this vault where they're safe and

18   then they don't have to incur the shipping costs or the

19   authentication cost.

20             THE COURT:    So the defendant's theory is that these

21   are sort of like an old styled stock certificate or something

22   else?

23             MS. BANNIGAN:    Exactly, that's right.      A claim ticket

24   a stock ticket, a stock certificate, a key just saying that

25   says you own that physical pair of shoes that's sitting in


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        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 4 of 9    4
     M4BAANIKC                   Conference

1    Stockx's vault.

2               THE COURT:   Okay.   All right.    I'm not going -- who is

3    going to talk for the plaintiffs?       Ms. Duvdevani, right?

4               MS. DUVDEVANI:    Yes, your Honor.

5               THE COURT:   Do you want to say something in response

6    to that?    I was really just trying get an understanding of what

7    the case is.

8               MS. DUVDEVANI:    All I would say today, your Honor, is

9    that Nike certainly disagrees with defendant's characterization

10   of their vault NFT program as stated to the Court in the joint

11   submission and in the answer.       And in fact to this day there is

12   marketing collateral on the Stockx website and out in the

13   public that states that there are additional benefits that

14   accompany the purchase of these vault NFT Stockx benefits which

15   we still don't know what they are and we hope to learn in

16   discovery.

17              I'll also add that the idea that the stock NFTs

18   themselves have no intrinsic value, it's frankly quite belied

19   by the fact that these NFTs are selling for significantly

20   higher price points than the physical shoes, not just on

21   Nike.com but on Stockx.com's old platform.         Last I checked, one

22   of these Nike branded NFTs is selling for $9,000 a pop and it's

23   hard for me to imagine that that type of price point is simply

24   compensating for the cost of shipping fees.

25              THE COURT:   Well, it's also storing the shoes.


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        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 5 of 9            5
     M4BAANIKC                   Conference

1              MS. DUVDEVANI:     Or storing the shoes, your Honor.         I

2    mean it doesn't add up to us and it's Nike's position that

3    these are what Stockx has characterized them to be before the

4    lawsuit which are digital assets that owners can sell and trade

5    that, yes, might be linked to authentic Nike products, but that

6    it is the NFT itself that they're selling to consumers that

7    consumers can own the NFTs.      They can store them in the shiny

8    new portfolio that Stockx has created for them and that in this

9    way it is really not that different from the NFTs that are

10   entering the marketing over the last couple of years.

11             THE COURT:    Okay.   So this is really a fascinating

12   case.   Thank you, both of you, for providing your position on

13   what this thing is.     So the initial dispute is over a fact

14   discovery.

15             Let me just say, Ms. Bannigan, I appreciate the

16   defendant's desire to move things along quickly but I think

17   you're being unrealistic about how long discovery is this case

18   is going to take, just as a realistic latter.         So I am going to

19   set a discovery deadline of October the 15th, which is

20   approximately six months from now.       The defendants want the

21   discovery to go faster.      I encourage you to produce your

22   documents quickly.     But reasonable document requests to Nike

23   and offer your witnesses up on a quick schedule.

24             All of that said, that is a firm deadline.         Both

25   parties have indicated that that's a doable deadline.              So you


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        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 6 of 9       6
     M4BAANIKC                   Conference

1    need to meet, plan, schedule.       Figure out who is going to do

2    what when so everything will be complete by October 15th.          I

3    didn't look at my calendar to find out when the Jewish holidays

4    are but you know they are going to be in September or early

5    October some time.     So work around them.

6              That brings us to expert discovery here again, I just

7    think, Ms.   Bannigan, you are not being realistic about how

8    long this is actually going to take and I would rather set a

9    realistic deadline that you beat than an unrealistic deadline

10   that you need to extend several times.

11             So your deadline for expert discovery is January 15,

12   2023.   That is for everything.      Work out all the interim

13   deadlines of who is going to provide reports when and when

14   depositions will take place.      I don't really care about any of

15   those interim deadlines just as long as everything is complete

16   by January the 15th.

17             The parties have indicated that you are going to need

18   a protective order and that you want an ESI and 502P protocol.

19   That's fine.    The sooner I get a draft, the sooner I can sign

20   it and you can get going.

21             Because I am giving you a gracious amount of time for

22   your fact discovery, I am going to require promptly joint

23   discovery reports.     The first report is due on May 15 and

24   thereafter it's due on the 15th is of each month or the first

25   business day after the 15th is on a weekend.


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        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 7 of 9      7
     M4BAANIKC                   Conference

1              So there was some indication in your joint letter that

2    there may be some interest in talking settlement.          I gather

3    that Nike thinks you need some discovery before you think

4    settlement would be productive; is that correct?

5              MS. DUVDEVANI:     We do agree with that, yes.

6              THE COURT:    Okay.   Here is what I suggest.      This

7    sounds to me like this case maybe can settle reasonably quickly

8    or it may be it can be very expensive litigation.          So if I were

9    your clients I would opt for the former.        So if there's

10   particular discovery that you are going to get and that you

11   think would be helpful to figure out where you are on

12   settlement, you and Stockx should talk about that and maybe do

13   some informal discovery off of your normal discovery schedule

14   just so you have what you think you need in order to make the

15   settlement conference productive.

16             So I am prepared to give you a referral now to your

17   magistrate judge for a settlement conference with a note

18   indicating that that conference should not be scheduled for at

19   least two or three months.

20             Does that makes sense or do you want to just punt on a

21   settlement conference until you actually have enough discovery

22   so you know what your position is?

23             MS. DUVDEVANI:     That's fine, your Honor.      We were

24   willing, actually, once we saw defendant's position on

25   mediation, if that was really going to be the roadblock to


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        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 8 of 9      8
     M4BAANIKC                   Conference

1    sufficient time for discovery that we'd potentially be willing

2    to settle, to have a settlement conference before magistrate

3    after document discovery is sufficiently complete but prior to

4    depositions which I do think could take some of the expense off

5    the table if we're able to settle at that point.          So two to

6    three months sounds about right.

7              THE COURT:    Okay.   How about you, Ms. Bannigan, does

8    that sound about right to you?

9              MS. BANNIGAN:    Yes, your Honor.     In our view the

10   sooner the better.     We really think that the question is, there

11   aren't many facts.     We know what, it's very obvious what Stockx

12   is doing.   We're happy to provide Nike with some more

13   information, but we haven't had a chance to talk business to

14   business.   And we truly think that it's just a misunderstanding

15   about what's happening here.      And the sooner we can have that

16   conversation, the sooner we can avoid a protracted litigation.

17             THE COURT:    Okay.   That's fine.    So what I'll do,

18   actually, what I'm going to do then is I'm going to tell

19   Magistrate Judge Netburn that I am going to make the referral

20   for the settlement conference, that it still sounds like based

21   on you're saying they're either going to need a couple of

22   months with documents or you are going to sit down and explain

23   what you are doing and they are going to say oh, Ms. Bannigan,

24   now we see.    This is all a mistake.      Then they'll dismiss.

25             MS. DUVDEVANI:     I can assure you that Nike does not


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        Case 1:22-cv-00983-VEC Document 29 Filed 04/26/22 Page 9 of 9         9
     M4BAANIKC                   Conference

1    have the fundamental misunderstanding of NFTs that Stockx

2    claims that we have, but we're happy to listen to anything that

3    they're willing to tell us.

4              THE COURT:    Well, good luck.     I'm only half teasing.

5    It is a significant case to both sides but it does sound like

6    perhaps settlement conference could be helpful after both sides

7    have a common understanding of the facts are.         So that's what

8    I'll do in terms of referral.

9              Anything further from you, Ms. Duvdevani?

10             MS. DUVDEVANI:     No.   Thank you very much for your time

11   today.

12             THE COURT:    It's pronounced just like it's spelled but

13   it just has some syllables that I stumble over.

14             MS. DUVDEVANI:     That's all right. no problem.         I'm

15   used to it.

16             THE COURT:    I'm sure.

17             Ms. Bannigan, anything further from the defendant?

18             MS. BANNIGAN:    Nothing from defendant, your Honor.

19             Thank you very much.

20             THE COURT:    Okay.   Thanks, everybody.

21             (Adjourned)

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